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                   Exhibit
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March 29, 2018

VIA EMAIL: editor@gunaxin.com
Mr. Philip Van der Vossen
Gunaxin Media LLC
1609 Highbridge Court
Hanover, MD 21076

Re: Lickerish, Ltd. v. Gunaxin Media LLC
    Our File No.: 00355-0003

Dear Mr. Van der Vossen,

We write this follow up letter on behalf of our client Lickerish, Ltd. for the
purposes of resolving a case of copyright infringement against you by our
client. This demand is privileged from disclosure pursuant to FRE Rule 408.

Enclosed please find our prior letter dated February 1, 2018, wherein we
detailed the basis of the copyright infringement claim against you, including
the evidence of infringement.

We note that a review of the accused infringing webpage shows that the
infringement has not been removed. It is imperative that you respond to us.
If we do not hear from you, we will be forced to take further steps to protect
our client’s rights, including filing a lawsuit against you. We also repeat our
demand that you tender this claim to your insurance carrier. We look
forward to your prompt response.

Sincerely,

Schneider Rothman Intellectual Property Law Group, PLLC




Jonah A. Grossbardt

JAG/jcj
Enclosure
